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                                No. 22-15827
     _______________________________________________________
  IN THE UNITED STATES COURT OF APPEALS FOR THE NINTH
                             CIRCUIT
    _________________________________________________________
      FELLOWSHIP OF CHRISTIAN ATHLETES, AN OKLAHOMA
                      CORPORATION, ET AL.,
                        Plaintiffs-Appellants,
                                   v.
SAN JOSE UNIFIED SCHOOL DISTRICT BOARD OF EDUCATION, ET AL.,
                       Defendants-Appellees,
    _________________________________________________________

              Appeal from the United States District Court
                 For the Northern District of California
                  Honorable Haywood S. Gilliam, Jr.
                         (4:20-cv-02798-HSG)
     _________________________________________________________
                  DEFENDANTS-APPELLANTS’
                 PETITION FOR REHEARING OR
                      REHEARING EN BANC
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                         REASONS FOR REHEARING
      In this case of exceptional importance, the panel majority ordered a public
school district to exempt a single student club from a non-discrimination policy
that is entirely constitutional under the precedents of the United States Supreme
Court and this Court, and to grant the club official recognition and approval even
though the club violates the district’s lawful policy by prohibiting some students,
including LGBTQ+ students, from serving in leadership positions. But see
Christian Legal Society v. Martinez, 561 U.S. 661, 696 & n.27 (2010) (rejecting
constitutional challenge to law school’s requirement that officially recognized
student clubs accept LGBTQ+ students); Truth v. Kent Sch. Dist., 542 F.3d 634,
648 & n.2 (9th Cir. 2008) (rejecting Equal Access Act challenge to similar school
district policy). The panel did so notwithstanding the absence of any credible
evidence that any students wanted to apply for official recognition but were
unwilling to comply with the non-discrimination policy or any other evidence of
ongoing injury. And it relied on a “selective enforcement” theory that is contrary
to this Court’s own precedents and that would make it effectively impossible for
most school districts to implement lawful non-discrimination policies. Because the
panel’s decision cannot be squared with the precedents of this Court and the
Supreme Court, rehearing or rehearing en banc should be granted.
      The majority disregarded well-established Article III precedent in holding
that plaintiffs have standing to seek to preliminarily enjoin a policy without
presenting admissible or reliable evidence that they will face prospective injury
from that policy, or that any such injury would be remedied by a preliminary
injunction. The record before the district court and this Court contained no
evidence that any student wanted to apply for official recognition of a local
Fellowship of Christian Athletes (“FCA”) club in the 2022-23 school year but was
prevented from doing so by the school district’s policy of requiring applicants to
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affirm their compliance with the non-discrimination policy. To manufacture
Article III standing in the absence of such evidence, the panel held that vague
hearsay statements about future intentions from a non-student third party sufficed
to establish Article III standing. Worse yet, the panel majority suggested that a
defendant can waive constitutionally required standing—and that it may do so by
entering into a stipulation that expressly disavows any such waiver. The majority’s
decision conflicts with governing precedent and, if allowed to stand, would render
the limitations imposed by Article III meaningless, enabling parties to manufacture
jurisdiction in every case.
      On the merits, the majority held that Plaintiffs had shown likely success on
their claim that San Jose Unified School District officials violated the Free
Exercise Clause and the Equal Access Act by selectively enforcing the district’s
non-discrimination policy in a manner that disfavored religion. Besides
disregarding the district court’s contrary findings of uniform enforcement, the
panel’s decision contravenes this Circuit’s precedent holding that the approval of a
student club application that is ambiguous regarding compliance with a non-
discrimination policy does not suffice to establish unconstitutional selective
enforcement because the approval may have been unintentional or inadvertent.
Alpha Delta Chi-Delta Chapter v. Reed, 648 F.3d 790, 804 (9th Cir. 2011) (no
constitutional claim under selective enforcement theory where approval of other
noncompliant groups may have resulted from “administrative oversight” or reflect
that groups had agreed not to discriminate). The panel’s contrary rule, which treats
inadvertent mistakes as anti-religious selective enforcement, will make it
impossible for school districts to administer non-discrimination policies.
      Finally, the remedy the panel ordered was entirely inconsistent with its
theory. Rather than ordering the school district to enforce the non-discrimination
policy uniformly going forward, the majority held that the appropriate remedy for
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past selective enforcement is continued selective enforcement. That ruling is
contrary to this Circuit’s precedent, which provides that the remedy for unlawful
selective enforcement is not to give a group special leave to discriminate, but to
ensure that the policy is administered even-handedly going forward. Hoye v. City
of Oakland, 653 F.3d 835, 856 (9th Cir. 2011). The majority’s ruling would mean
that school districts and other government entities could be forever foreclosed from
enforcing their lawful non-discrimination rules equitably and uniformly simply
because they mistakenly overlooked a secular group’s violation of those rules at
some point in the past.
      For all these reasons, rehearing should be granted to secure and maintain the
uniformity of this Court’s decisions and to address issues of exceptional
importance. Fed. R. App. P. 35(a); 9th Cir. R. 35-1.
                                 BACKGROUND
      In 2019, a Pioneer High School teacher and principal learned that a student
club affiliated with the national Fellowship of Christian Athletes required that, to
be eligible for club leadership positions, students must sign a pledge stating that
same-sex intimacy is sinful. Op. 9-12. Because this requirement was contrary to
the school district’s non-discrimination policy, which requires allowing any
student to join and run for office in any officially recognized student club, the
district withdrew Associated Student Body (“ASB”) recognition from the club.
Op. 10-12, 14, 16. Pioneer FCA continued to meet and hold events on campus as a
non-ASB-recognized student interest group. Diss. 60.
      In 2020, two students and the national FCA filed suit. Op. 17-18. They
were later joined by Pioneer FCA. The students’ graduation mooted their claims
for injunctive relief; their damages claims remain pending. Op. 23; Diss. 61, 68.
      In 2021, the school district issued new guidelines to formalize and
standardize its ASB club recognition practices. Op. 19. The “all-comers policy”
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requires student clubs applying for ASB recognition to sign an affirmation stating
that all students can be members and seek leadership positions regardless of their
status or beliefs. Op. 19-20. Despite under-oath predictions that Pioneer FCA
would apply for ASB recognition in fall 2021, no students applied at any district
high school. Op. 21.
      This appeal concerns the district court’s denial of FCA and Pioneer FCA’s
motion for a preliminary injunction to prevent the school district from applying its
all-comers rule against FCA clubs for the 2022-23 school year.
      The district court denied Plaintiffs’ motion, holding that the district’s non-
discrimination policy is consistent with Christian Legal Society v. Martinez, and
that Plaintiffs had not established selective enforcement disfavoring religion. Op.
22. The panel reversed and remanded, “direct[ing] the district court to enter an
order reinstating FCA’s ASB recognition.” Op. 46.

                                   ARGUMENT

I.    The majority’s determination that Plaintiffs had established standing to
      seek prospective relief contradicts decisions of this Court and the U.S.
      Supreme Court.
      The majority’s determination that FCA made a showing of imminent injury
adequate to establish Article III standing to seek prospective relief contravened
governing precedent of this Court and the Supreme Court, including by holding
that a party can waive Article III standing and create federal jurisdiction where the
Constitution does not allow it.
      As noted, Plaintiffs sought injunctive relief requiring school district officials
to recognize FCA clubs notwithstanding their refusal to comply with the district’s
all-comers club recognition policy. But the Supreme Court has made clear that
vague allegations of future plans are insufficient to establish impending injury


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warranting prospective relief. See Diss. 68-71 (citing Sierra Club v. Morton, 405
U.S. 727, 735 (1972); Lujan v. Defenders of Wildlife, 504 U.S. 555, 564 (1992);
Summers v. Earth Island Institute, 555 U.S. 488, 490 (2009)). Rather, Article III
requires “an adequate showing that sometime in the relatively near future [a
student] will” apply for and be denied club recognition due to the non-
discrimination policy. Adarand Constructors, Inc. v. Pena, 515 U.S. 200, 211
(1995) (cited at Diss. 71). “Following the Supreme Court’s lead, [this Court] ha[s]
insisted upon ‘concrete plans’ or ‘firm intentions’ as an indispensable part of
Article III’s imminence analysis.” Diss. 72 (citing Wilderness Soc., Inc. v. Rey,
622 F.3d 1251, 1256 (9th Cir. 2010); D’Lil v. Best W. Encina Lodge & Suites, 538
F.3d 1031, 1038-39 & n.9 (9th Cir. 2008)). And “at the preliminary injunction
stage, a plaintiff must make a “‘clear showing’” of each element of standing.
Lopez v. Candaele, 630 F.3d 775, 785 (9th Cir. 2010) (quoting Winter v. Nat. Res.
Def. Council, Inc., 555 U.S. 7 (2008)).
      As Judge Christen’s dissent explains, the school district’s club recognition
policy could “cause a real or immediately impending injury” (and an injunction
could prevent that injury) only if a Pioneer High School student planned to apply
for FCA club recognition for the 2022-23 school year if the policy were enjoined.
Diss. 68. Yet no student applied for recognition for the 2021-22 school year. And
there was no record evidence identifying any student who would apply for
recognition of an FCA chapter in the 2022-23 school year but for the requirement
to affirm compliance with the non-discrimination policy.
      Instead of requiring a showing of “concrete plans” or “firm intentions” by a
student who might suffer an injury, the panel majority found it sufficient for
standing purposes to infer, from multiple speculative hearsay declarations by a
non-student (FCA employee Rigo Lopez), that a student would apply for
recognition. But that type of showing “does not come close to demonstrating
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concrete plans or firm intentions to apply for ASB recognition for the 2022-23
school year.” Diss. 77.
      Because only students—and not Lopez—may apply for ASB club
recognition, Lopez’s declarations offer nothing more than speculation about what
third parties might possibly do or intend. That is not enough to establish Article III
standing. While inadmissible evidence may sometimes be considered in
preliminary injunction proceedings “[d]ue to the urgency of obtaining a
preliminary injunction at a point when there has been limited factual
development,” Herb Reed Enters., LLC v. Fla. Entert. Mgmt., Inc., 736 F.3d 1239,
1250 n.5 (9th Cir. 2013), this case has been pending for over two years, and
discovery has not only commenced but been completed. The majority’s holding
would mean that the plaintiff environmental organization in Defenders of Wildlife
could have established standing simply by submitting a declaration from a staffer
asserting that some nameless member intended at some point in the future to visit
the areas at issue (without even explaining the basis for the staffer’s speculation).1
      In addition to defending its consideration of speculation based on vague
hearsay, the majority suggested that the school district waived standing by
agreeing to a February 2022 stipulation (long after the preliminary injunction
briefing had been completed) in which Plaintiffs, to serve their own purposes,
agreed not to submit any additional student testimony. Op. 29. The panel
chastised the school district: “The defendants cannot fault the plaintiffs for failing
to submit evidence which they agreed not to require.” Id. But as the dissent points
out, Diss. 76, a party cannot waive Article III standing. Nor does the stipulation—
which was entered into after Plaintiffs refused to produce highly relevant witnesses

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         The majority’s reliance on this speculative hearsay is even more egregious
in that there were “ample reasons to discount” it, given that Lopez “walked back”
the statements in his prior declarations when deposed. Diss. 76.

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in support of their claims—even purport to do so. Rather, it expressly states that it
“does not alter in any way the … requirements for Plaintiffs to establish
jurisdiction” and “make[s] no admissions, explicit or implied, about what evidence
is necessary….” D. Ct. Dkt. #180-2 at 5-6 ¶¶6-7; Diss. 76.
      Finally, as Judge Christen emphasized, the FCA staffer’s declarations, even
if credited and strung together, did not establish any student’s intent to apply for
ASB recognition for the 2022-23 school year but for the non-discrimination policy.
Lopez’s September 2021 prediction that unidentified leaders would apply,
“cobbled together” with his first identification of N.M. as a club leader in May
2022 (without stating that N.M. had any such intent), “fall woefully short” of
Article III’s requirements. Diss. 79.
      If the majority’s opinion is permitted to stand as the rule of this Circuit,
litigants will be allowed to circumvent Article III by relying on speculative hearsay
about “some day intentions,” in contravention of Circuit and Supreme Court
precedent. See also, e.g., Yazzie v. Hobbs, 977 F.3d 964, 966-67 (9th Cir. 2020)
(per curiam) (dismissing appeal from denial of preliminary injunction when
plaintiffs did not establish intent to vote in upcoming election using challenged
procedure).2

II.   The majority’s irreparable injury holding contravenes U.S. Supreme
      Court precedent.

      The majority’s holding that Plaintiffs established irreparable injury
completely overlooked the need to establish that such injury is likely. The panel


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        It is irrelevant that after the panel’s opinion a student (who may or may not
have been willing to comply with the non-discrimination policy) did in fact submit
an FCA club application. What matters is that the evidence in the preliminary
injunction record did not suffice to establish Article III standing, and the panel’s
contrary ruling is now governing Circuit precedent.
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held (correctly) that the deprivation of First Amendment rights constitutes
irreparable injury, Op. 43-44, but ignored that the school district’s policy could
cause such a deprivation only if a student actually would apply for FCA
recognition but for the non-discrimination policy.
       In Winter v. Natural Resources Defense Council, the Supreme Court rejected
this Circuit’s “possibility” of injury standard as “too lenient,” and reaffirmed that
“plaintiffs seeking preliminary relief [must] demonstrate that irreparable injury is
likely in the absence of an injunction.” 555 U.S. at 22. For the same reasons that
Plaintiffs’ evidence is insufficient to establish Article III standing, it also does not
meet the standard for establishing likely imminent injury.

III.   The majority’s selective enforcement analysis is contrary to Circuit
       precedent.

       The majority held Plaintiffs likely to succeed on the merits of their claims
for injunctive relief because the school district selectively enforced its all-comers
policy in a manner that disfavored religion. Op. 34-35 & 43 n.10. The majority
based this finding (which contradicted the district court’s factual findings) on the
approval of a single student club application by an administrator at a high school
other than Pioneer (where the underlying events had occurred). In doing so, the
majority failed to follow Circuit precedent providing that an inadvertent mistake
does not establish discrimination in violation of constitutional protections.
       As the majority acknowledges, in 2021 the school district moved from a
complaint-driven system to a requirement that all clubs affirm their compliance
with the non-discrimination policy in order to obtain ASB recognition. Op. 19-20.
Since the adoption of the new system, the evidence was that only a single student
club (Senior Women), at a different high school (Leland, another of the six
comprehensive district high schools), signed the affirmation but also wrote on its

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application that “[m]embers are considered students who are seniors who identify
as female.” Diss. 65; Op. 37. The district court found that the written statement
was in tension with the signed affirmation, but that there was “‘no clear proof that
the district allows the club to violate the [non-discrimination p]olicy,’” nor any
evidence “that the club actually discriminates.” Diss. 65. In keeping with that
factual finding, the district court faithfully followed this Court’s decision in Alpha
Delta, in which the Court remanded for consideration a claim that a school was
selectively enforcing its non-discrimination policy against a religious club while
permitting other clubs to discriminate on prohibited grounds. 648 F.3d at 804.
The Court explained that a remand was required because “it is possible that these
groups were approved inadvertently because of administrative oversight, or that
these groups have, despite the language in their applications, agreed to abide by the
non-discrimination policy.” Id.; see also Truth, 542 F.3d at 648 & n.2 (remanding
for similar factual determinations). This Court properly recognized that the
inadvertent recognition of a non-compliant secular student club would not give rise
to a claim premised on intentional selective enforcement against religious groups.
      Without even mentioning Alpha Delta, the majority held that “[t]he School
District’s refusal to apply the All-Comers policy against the Senior Women Club
shows that the plaintiffs will likely prevail on the merits.” Op. 41; see also Op. 36-
38.3 The majority suggested that the school district’s recognition of clubs with

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         The majority reasoned that the school district’s purported “double standard
was no aberration.” Op. 41. The majority acknowledged, however, that its
examples of non-compliant groups predated the school district’s adoption of a
requirement that all ASB-recognized student clubs sign an affirmation that they do
not discriminate based on status or belief, id.—and so shed no light on the current
practice. That the school district’s previous process for identifying violations was
complaint-driven (such that FCA itself was recognized for many years until the
district received complaints about its noncompliance with the non-discrimination

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names suggesting affinity associations (like “Black Student Union”) would also be
inconsistent with its non-discrimination policy, Op. 38-39 n.7, despite record
evidence that these groups were open to and had participation from all students.
E.g., 7-ER-1164 (Black Student Union had white members and leaders). School
districts reading the majority’s decision will thus be misled into thinking that if
they have a non-discrimination policy, they may no longer allow student clubs that
aim, for example, to improve opportunities for girls in STEM or advocate for the
rights of particular cultural or ethnic groups, even if those clubs are in fact open to
all students.
       The reason for Alpha Delta’s rule is straightforward. The inadvertent
approval of a student club whose submitted application may be in tension with a
school district’s non-discrimination policy might show sloppiness, but it does not
establish that the reason school officials “exempted certain student groups from the
non-discrimination policy” or “declined to grant [a religious club] such an
exemption [was] because of [its] religious viewpoint.” 648 F.3d at 804. In a
school district with six large high schools comprising tens of thousands of students,
hundreds of student clubs, and thousands of teachers and school officials, there can
be no question that administrative errors will occasionally occur. The fact that a
single ambiguous application slipped through the cracks does not in itself show
that clubs are being treated differently based on whether they are religious or
secular. The panel’s contrary ruling would seem to mean that school districts’
club-approval process must be utterly error-free to be constitutionally permissible.


policy) does not establish a past constitutional violation, much less a prospective
one. On the contrary, as this Court held in Stormans, Inc. v. Wiesman, where a
policy’s enforcement is complaint-driven and the record contains no indication that
similar complaints against non-religious entities went uninvestigated, there is “no
evidence of selective enforcement.” 794 F.3d 1064, 1084 (9th Cir. 2015).

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      The panel’s selective-enforcement theory also ignores that the grant of
recognition to “Senior Women” at Leland High School cannot be attributed to the
same decision-makers as the denial of recognition to Pioneer FCA, as would be
required to support a selective enforcement theory. A selective-enforcement claim
requires a showing of different treatment of similarly situated persons. Austin v.
Univ. of Or., 925 F.3d 1133, 1138 (9th Cir. 2019); see also Stormans, 794 F.3d at
1083-84. Ignoring these principles, the majority cherry-picked applications
approved in the 2021-22 school year at sites other than Pioneer by site-specific
decision-makers, and then used those applications to conclude that Pioneer FCA
was treated differently even though Pioneer FCA never even applied for 2021-22
recognition.
      The majority props up Plaintiffs’ selective enforcement case by relying on
the stated views of a small number of individual teachers to ascribe a
discriminatory purpose to the school district and its officials. Devoting numerous
pages to quotations reflecting individual teachers’ views about FCA’s requirement
that student leaders sign a discriminatory pledge (e.g., Op. 11-14, 16-17)—without
mentioning evidence of other teachers’ support for FCA—the majority reasons that
the all-comers policy was “enacted and implemented by the same School District
and Pioneer officials that expressed hostility towards FCA’s religious views (more
on that later).” Op. 42. But the purportedly hostile statements the majority cites
were all made by individual teachers (three out of over 1,400 in the school district),
not by officials with any decision-making authority. There was no evidence that
these teachers had any role in the decision to derecognize FCA, which the evidence
shows was made by school district officials whom the Pioneer principal relied
upon for guidance. 3-SER-709, 5-ER-751-52, 8-ER-1321-30, 1348-52. And there
was certainly no evidence that the decision-maker who approved the Senior


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Women club at Leland High School for the 2021-22 school year was even aware of
those statements.4
      In relying on individual teachers’ statements from various points in time, the
majority disregarded well-established Circuit precedent requiring a causal link
between non-decision-maker statements and the adverse action at issue. See, e.g.,
Poland v. Chertoff, 494 F.3d 1174, 1182 (9th Cir. 2007) (“subordinate’s bias is
imputed to the employer” only “if the plaintiff can prove that the allegedly
independent adverse employment decision was not actually independent because
the biased subordinate influenced or was involved in the decision or
decisionmaking process”); Lakeside-Scott v. Multnomah Cnty., 556 F.3d 797, 807
(9th Cir. 2009) (no First Amendment violation where “the initial report of possible
employee misconduct came from a presumably biased supervisor, but
[supervisor’s] subsequent involvement in the disciplinary process was so minimal
as to negate any inference that the investigation and final termination decision
were made other than independently and without bias”). Under the majority’s
approach, stray remarks by a single teacher who has no role in the adoption or
enforcement of a non-discrimination policy or the approval of student clubs could
threaten a school district’s ability to enforce that policy—even if the district does
not make any errors at all in its club recognition process. This will not only
threaten schools’ efforts to prevent discrimination and promote equality, but could
also lead schools to stifle their teachers’ own First Amendment-protected speech
for fear that offhand remarks by individual teachers will be attributed to decision-
makers.


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         The statements and conduct of student journalists also cannot be ascribed
to the district. See, e.g., Cal. Educ. Code §48907(a) (prohibiting school districts
from restricting pupils’ freedom of speech or press, including in school-sponsored
publications); but see Op. 17 (citing such conduct).
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IV.   The majority’s remedy directive departs from Circuit precedent.
      Finally, even if the majority were otherwise correct, its directive that the
district court enter an injunction granting recognition to FCA is inconsistent with
this Circuit’s treatment of selective-enforcement challenges to facially neutral
policies. Op. 45-46. The proper remedy for a school district’s selective
enforcement of its policy is an order requiring consistent and equitable application,
not one requiring the district to continue enforcing its policy selectively by
exempting certain student groups.
      In Hoye, this Court acknowledged that developing a remedy for selective
enforcement of a facially constitutional rule “present[s] a remedial puzzle,” and
explained that the task was to “craft a remedy designed to foreclose” selective
enforcement “while preserving the facially valid” law. In other words, the remedy
must “ensure that the rule enforced … is a content-neutral one … and not a
content-discriminatory rule.” 653 F.3d at 856. That objective, this Court held, was
served by granting the plaintiffs a declaratory judgment and remanding for the
district court to decide whether further relief would be required “to change the
[defendant’s] enforcement policy.” Id. at 856-57. In so concluding, the Court
recognized that “[t]he District Court, with its greater familiarity with the facts and
parties, is better positioned … to address this remedial question,” and that
“declaratory relief alone” may be sufficient “to change the … enforcement policy.”
Id.
      The majority’s remedy directive thus breaks from Circuit precedent by
requiring the school district to enforce its policy in a content-discriminatory
manner. The school district should not be required to allow discrimination by a
single student group in contravention of an even-handedly and fairly applied non-
discrimination policy. The Court should grant rehearing to address the majority’s
anomalous remedy directive.
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       At a minimum, the Court should clarify that the remedy for past selective
enforcement of the district’s non-discrimination policy is not to forever enjoin the
district from prohibiting discrimination by FCA or any other student club, and that,
if the district can show that it is consistently enforcing its policy, it will be entitled
to enforce that policy with respect to all student groups. See id. at 857 n.17
(emphasizing that defendant initially enjoined from enforcing facially neutral
policy “could later apply for the injunction to be lifted or modified if it made a
sufficient showing that it had adopted and would apply an evenhanded
enforcement policy”); Dombrowski v. Pfister, 380 U.S. 479, 492 (1965) (“the
settled rule of our cases is that district courts retain power to modify injunctions in
light of changed circumstances”).5
                                    CONCLUSION
       For these reasons, panel or en banc rehearing should be granted to correct
the majority’s erroneous rulings, which conflict with Circuit and Supreme Court
precedent.




       5
        Past selective enforcement can provide the basis for a §1983 damages
claim, but for injunctive relief to issue against government officials, the violation
must be ongoing. See Papasan v. Allain, 478 U.S. 265, 278 (1986); see also
Christian Legal Soc. v. Eck, 625 F.Supp.2d 1026, 1046-47 (D. Mont. 2009)
(“Absent some evidence of ongoing viewpoint discrimination, such as the granting
of exemptions to other non-complying student groups, there is no basis for forever
and indefinitely precluding Defendants from enforcing their non-discrimination
policy against CLS–UM, which is the relief sought in the Complaint.”).

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Dated: October 3, 2022                      Respectfully submitted,

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                 UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT
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